United States v. Denka Performance Elastomer, LLC et al. (2:23-cv-735)


     United States’ Motion to Reopen Case and Set Status Hearing




                           Exhibit A
                 UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF LOUISIANA
*********************************************************
UNITED STATES OF AMERICA,
               Plaintiff,
                         Civil Action No. 23-735
VS.                      Section "J"(3)
                         New Orleans, Louisiana
                         July 18, 2024
DENKA PERFORMANCE ELASTOMER, LLC
AND DUPONT SPECIALTY PRODUCTS USA, LLC,
             Defendants.
*********************************************************
            TRANSCRIPT OF STATUS CONFERENCE
      HEARD BEFORE THE HONORABLE CARL J. BARBIER
              UNITED STATES DISTRICT JUDGE

APPEARANCES:
FOR THE GOVERNMENT:           Steven David Shermer
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    Proceedings recorded by mechanical stenography,
transcript produced via computer.


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 1   will be substantial harms during this abeyance period
 2   isn't really accurate.    I mean, they assess their whole
 3   risk profile based on a 70-year lifetime, so a four-month
 4   abeyance period is something like 0.005 percent of that
 5   70-year lifetime.    So it's an infinitesimal increase in
 6   risk if the Court were to grant an abeyance.    And, again,
 7   it's less than the delay that was caused by the United
 8   States canceling the trial last March.
 9          THE COURT:    While you're up, tell me about this:
10   One of the issues that was raised in the status report to
11   the court, it says that Denka suggests or argues that it
12   would like to conduct additional discovery.
13          I'm not clear on what additional -- assuming if or
14   when this litigation goes forward, what would be the need
15   for that and the scope of that discovery?
16          MR. SUPER:    I'm glad you asked that because it is
17   very targeted and limited discovery that goes directly to
18   the rule and it relates to issues we've already discussed
19   today, you know.    One is, again, the fact that once all
20   of the projects that are required by the rule are
21   implemented, the EPA admits that you're left with a 0.8
22   micrograms per cubic meter concentration which is
23   entirely consistent with the emergency they're alleging
24   in this case, that 0.2.
25          And there are -- there's modeling.     It's called


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 1   we get the summary judgment motion in front of you.
 2            THE COURT:   And just to be clear, finally, Denka
 3   really doesn't want to ever comply with this rule, right?
 4            MR. SUPER:   Denka cannot comply with the rule.
 5            THE COURT:   So it's not just a matter of 90 days
 6   or two years.
 7            MR. SUPER:   I know -- I can represent to the Court
 8   that 90 days is impossible.     It's not going to work.       I
 9   can't really say that with respect to July 2026.      It
10   gives the company hope that it can continue.       I'm not
11   sure how that will play out.
12            THE COURT:   And why couldn't it comply in two
13   years?
14            MR. SUPER:   Why couldn't it comply --
15            THE COURT:   Why could it not comply if given the
16   two years?
17            MR. SUPER:   Well, I think that's an analysis
18   that's beyond my ability to discuss at this point.       It
19   involves a lot of engineering issues.       But I think it's
20   on the table.
21            I'm not standing here saying to you the plant
22   would shut down after two years.     I just don't know the
23   ends and outs of how the rule would be complied with.
24   What I do know right now is they cannot possibly do it by
25   October 15th.


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 1                    REPORTER'S CERTIFICATE
 2             I, Nichelle N. Wheeler, RMR, CRR, Official
     Court Reporter, United States District Court, Eastern
 3   District of Louisiana, do hereby certify that the
     foregoing is a true and correct transcript, to the best
 4   of my ability and understanding, from the record of the
     proceedings in the above-entitled and numbered matter.
 5

 6                            /s/ Nichelle N. Wheeler
                           Official Court Reporter
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